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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

 IN RE: Lion Air Flight JT 610 Crash               Lead Case No. 18-cv-07686


                                                   Hon. Thomas M. Durkin


                                 STATUS REPORT BY
                            EDELSON PC AND FLOYD WISNER

       Pursuant to the Court’s order directing Edelson PC and Mr. Wisner (on behalf of

Plaintiffs Anice Kasim, Bias Ramadhan A.S. bin Misyadi, Dian Daniaty, Septiana Damayanti,

and Multi Rizki and their families (“the Client Families”)) to submit a joint status report on the

status of mediation (dkt. 1339), Edelson and Mr. Wisner state as follows:

       1.      At the status hearing on January 27, 2022, counsel for Edelson advised the Court

that Edelson was working to step into the Client Families’ shoes against Mr. Griffin, Mr. Lira,

and other wrongdoers—at the Court’s suggestion—and had set a mediation to do so.

       2.      To that end, Edelson and the Client Families’ current counsel, Mr. Wisner, have

participated in two mediations with the Honorable Wayne R. Andersen (Ret.) on February 10,

2022 and March 15, 2022.

       3.      The parties to the mediation have nearly finalized a full agreement. The draft is

out for final review and signature.

       4.      The parties anticipate being able to present the agreement for the Court’s approval

within seven calendar days, or by April 6, 2022.

                                                      Respectfully submitted,

                                                      EDELSON PC

Dated: March 30, 2022                                 /s/ J. Eli Wade-Scott
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